                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                          Case No. 6D2023-1420
                   Lower Tribunal No. 2019-CA-007722-O
                     _____________________________

                            THOMAS BARRINGTON,
                                  Appellant,
                                      v.

  JONATHAN GALED, WFTV, LLC, MARPHUS SAYERS, UNITED PARCEL SERVICE,
              INC., MIGUEL MORA, and FEDEX FREIGHT, INC.,
                                  Appellees.
                      _____________________________

               Appeal from the Circuit Court for Orange County.
                          Jeffrey L. Ashton, Judge.

                               August 27, 2024

PER CURIAM.

     AFFIRMED.

STARGEL and WHITE, JJ., and LAMBERT, B.D., Associate Judge, concur.

Lindsey Lawton, of The Brownlee Law Firm, P.A., Tallahassee, and Michael M.
Brownlee, of The Brownlee Law Firm, P.A., Orlando, for Appellant.

Steven R. Main, of Hill, Rugh, Keller &amp; Main, P.L., Orlando, for Appellees,
Jonathan Galed and WFTV, LLC.

Paul U. Chistolini, of Barnett &amp; Chistolini, PLLC, and William G.K. Smoak, and
Cance C. Arias, of Alvarez, Thompson &amp; Smoak, P.A., Tampa, for Appellees,
Marphus Sayers and United Parcel Service, Inc.

Michael R. D’Lugo, of Wicker Smith O’Hara McCoy &amp; Ford, P.A., Orlando, for
Appellees, FedEx Freight, Inc. and Miguel Mora.

 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
